       Case: 3:22-cv-50188 Document #: 66 Filed: 08/25/22 Page 1 of 5 PageID #:152




                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                      WESTERN DIVISION


    IN RE: DEERE & COMPANY REPAIR                              Case No. 3:22-cv-50188
    SERVICES ANTITRUST LITIGATION
                                                               MDL No. 3030

    This Document Relates to:                                  STATUS UPDATE RE: PROPOSED
    ALL CASES                                                  LEADERSHIP STRUCTURE


         The undersigned parties submit this status update regarding a proposed leadership

structure in the above-titled litigation. The following proposed leadership structure has been

formulated through discussion with all counsel.1

                              PROPOSED LEADERSHIP STRUCTURE

         Plaintiffs propose a team of attorneys comprised of Interim Liaison Counsel, Interim

Co-Lead Counsel firms, and a multi-firm Interim Plaintiff Steering Committee.

         The proposed leadership slate includes attorneys with significant MDL leadership

experience as well as attorneys who will bring fresh perspectives and energy to the litigation.

The firms and attorneys listed below are each highly qualified and will provide a deep bench of

talent to keep this litigation moving forward at a swift pace. All these firms are well-qualified

and capable of serving as lead counsel but have agreed to step back in the interest of “private

ordering.” Each of these firms has unique talents and will be assigned work commensurate with

their skills, including assignments to committees focused on specific legal issues, offensive

discovery, defensive discovery, class certification, expert work, summary judgment, ESI issues,

and trial to name a few. In order to ensure that the work of counsel does not overlap and is



1
 As part of earlier discussion regarding the proposed leadership structure, the undersigned parties offered plaintiff
Monty Ferrell’s counsel a role in the executive committee, which was declined.

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    Case: 3:22-cv-50188 Document #: 66 Filed: 08/25/22 Page 2 of 5 PageID #:153




efficient, proposed lead counsel will control work assignments and institute a time-keeping and

expense protocol, all of which will be audited by proposed lead counsel.

Proposed Interim Liaison Counsel:

       Foote, Mielke, Chavez & O’Neil, LLC

                 Robert M. Foote: https://www.fmcolaw.com/team/robert-m-foote/

                 Kathleen C. Chavez: https://www.fmcolaw.com/team/kathleen-c-chavez/

Proposed Interim Local Facilitating Counsel:

       Williams McCarthy, LLP

                 Marc C. Gravino: https://www.wilmac.com/marc-c-gravino/

Proposed Interim Co-Lead Counsel:

       Cotchett, Pitre & McCarthy, LLP

                 Adam J. Zapala: https://www.cpmlegal.com/professionals-adam-zapala-
                  complex-litigation-attorney

                 Elizabeth T. Castillo: https://www.cpmlegal.com/professionals-elizabeth-
                  castillo-antitrust-attorney

       Wexler Boley & Elgersma LLP

                 Kenneth A. Wexler: https://www.wbe-llp.com/team_bio/kenneth-a-wexler/

                 Justin N. Boley: https://www.wbe-llp.com/team_bio/justin-n-boley

       Gustafson Gluek PLLC

                 Daniel C. Hedlund: https://gustafsongluek.com/daniel-hedlund

                 Kaitlyn L. Dennis: https://gustafsongluek.com/kaitlyn-dennis

Proposed Interim Plaintiff Steering Committee:

                 Lee Albert: https://www.glancylaw.com/attorneys/lee-albert/

                 Garrett Blanchield: http://www.rwblawfirm.com/garrett-blanchfield

                 David Cialkowski: https://www.zimmreed.com/people/david-cialkowski/



                                               2
    Case: 3:22-cv-50188 Document #: 66 Filed: 08/25/22 Page 3 of 5 PageID #:154




                  Jeffrey Kodroff (chair): http://srkattorneys.com/profiles/jeffrey-kodroff/

                  Mindee Reuben: https://www.litedepalma.com/mindee-j-reuben

                  Jennifer Sprengel: https://www.caffertyclobes.com/attorneys/jennifer-
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                  Peggy Wedgworth: https://milberg.com/attorney/peggy-wedgworth/

                  Robin Zwerling: https://zsz.com/robin-zwerling/

                  Eric Artrip: https://www.mastandoartrip.com/attorneys-2/eric-artrip/

                  Virginia Buchanan: https://www.levinlaw.com/attorney-profiles/virginia-

                   buchanan

                  David Kuang: https://audetlaw.com/attorneys/david-l-kuang/

       This slate represents a consensus of almost all of Plaintiffs’ counsel. Such “private

ordering” is favored in MDL proceedings such as this.2 Other firms not given a specific position

in the Plaintiffs’ leadership structure will receive work based on their specific expertise. Other

firms not given a specific position will get appointments to committees when specific

committees are formed. If the Court wishes, the undersigned counsel will provide additional

information on the attorneys and law firms that are part of this proposed leadership structure or

respond to any other application for leadership submitted to the Court.




2
 See Third Circuit Task Force on the Selection of Class Counsel, Final Report, Section VIII A.,
p. 6.1.

                                                  3
    Case: 3:22-cv-50188 Document #: 66 Filed: 08/25/22 Page 4 of 5 PageID #:155




Dated: August 25, 2022          Respectfully submitted,

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                               Proposed Interim Co-Lead Counsel for Plaintiffs




                                         4
Case: 3:22-cv-50188 Document #: 66 Filed: 08/25/22 Page 5 of 5 PageID #:156




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                           rmf@fmcolaw.com

                           Proposed Interim Liaison Counsel for Plaintiffs


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                           WILLIAMSMCCARTHY LLP
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                           Rockford, IL 61105
                           (815) 987-8936
                           mgravino@wilmac.com

                           Proposed Interim Local Facilitating Counsel for
                           Plaintiffs




                                     5
